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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA



ELIZABETH ALNABER,                    Case No. 2:20-cv-4051-SK
                  Plaintiff,          JUDGMENT
             v.
KILOLO KIJAKAZI, Acting
Commissioner of Social Security,
                  Defendant.



     It is the judgment of this Court that the decision of the Administrative
Law Judge is AFFIRMED. Judgment is hereby entered in favor of
Defendant.


Date: October 6, 2021              ___________________________
                                   HON. STEVE KIM
                                   U.S. MAGISTRATE JUDGE
